SAMANTHA RC)DRlGUEZ FAVILA,
Individually and as l’arent and Next Friend of
OMAR GARCIA and ANTGNIO GARCIA,
Minors and as Representative ofthe ESTATE
OF REYES GARCIA RANGEL, IRENE
RANGEL lBARRA and REYES MARTINEZ,

V.

RISEVES COUNTY, "l`lEXAS (REEVES
COUN'I`Y DETEN'FI()N CENTER),

'l"HE GEO GROUP, INC., and PHYSICIANS
NETWORK ASSOCIAT|ON,

STATE OF TEXAS

COUNTY OF LUBBOCK

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IN 'I`HE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
PECOS DIVISIC)N

Plaintif`l"s, No. 4: l O-CV-OO()77

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Det`endants.
AFFIDAVIT ()F VERNON FARTHING IIl
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BEFORE ME, the undersigned authority, on this day personally appeared Vernon Farthing, lll,

who, being by me duly sworn, deposed as follows:

My name is Vernon Farthing, III. I am over the age of eighteen years, and arn competent
to make this affidavit The factual statements contained herein are within my personal
knowledge, true and correct.

Prior to Decemher 20!0, l served as president of Physicians Network Association, a
professional corporation that provided health care personnel and services to inmates in
various prison facilities ln Deceniber 2010, Physicians Networl< Association merged
with Correctional Health Companies, and l am now a vice president with that entity.
Attached hereto and incorporated herein for all purposes is a true and correct copy ofthe
Medical Services Agreement between Physicians Network Association and Reeves
County Commissioners Court for the Reeves County Detention Center Units R-l/R-Z,
located at l560 West County Road 204, Pecos, Texas. Pursuant to this Agreement,
Physicians Network Association has provided health services at the Reeves County
Detention Center. Such contract was in full force and effect during the time that Reyes
Garcia Range| was incarcerated at that facility.

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Section lV, subsection A, paragraph 7 of said Agreement provides. in pertinent part. that
"the County will not impose upon PNA any obligation or duty, ofany nature, to provide
security supervision services for any inmates at any time."

Section lX of said Agreement provides that "in PNA's performance of its duties and
responsibilities under this Agreement, it is mutually understood and agreed that PNA is at
all times acting and performing as an independent contractor. 'I`he County shall neither
have nor exercise any control or direction over the methods by which the PNA shall
perform its work and functions other than is provided herein. Nothing in this Agreement
is intended to or shall be deemed to constitute a partnership or a joint venture between the
parties."

At no time has Physicians Network Association entered any agreements with defendant
the GEG Group, lnc. concerning the operation of Recves County Detention Center.
Based upon my knowledge of the operations at Reeves County Detention Center, and at
other prison facilities in which Physicians Network Association has provided serviccs, l
am aware that the GEO Group, Inc. is a private company contracted with Rceves County,
Texas to manage the facility in which Reyes Garcia Rangel was incarcerated at the time
of`his death.

The affidavit of Dwight Sims, filed in support ofdefendant The GEO Group, Inc.'s
motion for summaryjudgment, establishes that Rcyes Garcia Rangel was assigned to thc
Sl'lU on .luly 16, 2008 because ofan altercation he had with correctional officers while
being escortet|` and that medical personnel made rounds at least daily in the SHU while
he was housed there

Physicians Networl< Association had no official custom or policy, as alleged in paragraph
29 ofplaintitl`s' original pctition, ot` "p|acing persons such as Reyes Garcia Rangel,
deceased in the SHU in order to keep them from seeking medical attention." Physicians
Network Association did not place Mr. Garcia in the SliU. Moreover, by contract and as
a matter of course, inmates in segregation continue to receive medical and mental health
services in the ReevesCounty Detention Center.

Further deponent sayeth not. M g

Verr\on Farthing, lll

SUBSCRlBED AND SWORN 'l`O BEFORE ME this [ l'g day oi`January, 20|2, to certify

which witness my hand and seal ol`oft`ice.

rARY PuBLiC trip/rla rev the
State of Texas

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LlNDA KAY GREGG

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MEntcAL SEnvtcEs AGREEMENT
BErWEEN
PanrcrANs Nrrrwonx AssocumoN
ANn
REEvEs CouN'rY CoMMlssloNERs CouR'r
ron run
REEvEs CouN'rY DE'rEN'r'toN CENTER UNrrs R-l/R-Z

THIS AGREEMENT is made and entered into by and between PHYSICIANS NETWORK
ASSOCIATION (“PNA”), whose address is 1622 Mac Davis lane, Suite A, Lubbock, Texas,
79401 and REEVES COUNTY COMMISSIONERS COURT (“County”), for the provision of
medical and related services at the Reeves County Detention Center R-l/R-Z (the “Facility”)
located at 1560 West County Road 204, Pecos, TX 79772.

WHEREAS, The County is in need of comprehensive healthcare services for Federal
Bureau of Prisons lnmates housed at the Facility; and

WHEREAS, PNA has the resources, professional staff and expertise to provide
comprehensive healthcare services at the Facility and desires to provide such services.

IT rs HEREBY AGREED BETWEF.N THE PARTIES:
I~ QEHEIIJQN§

A. §Qlj: The Federal Bureau of Prisons.

B. BQP Sgtemen_t of Wgrl;: The document that sets forth the BOP requirements for the
management of a low-security correctional facility for federal Inmates.

C. QQ_IR: Contracting Officer’s Technical Representative. A Bureau of Prisons
staffperson, designated in writing by the Contracting Officer, who assists the
Contracting Oflicer Representative in the performance of duties. The extent of
CO'I'R responsibilities is delineated in writing by the Contracting Officer and will be
provided to the County.

D. §_o_nj;gg: the final negotiated Agreement between PNA and Reeves County for the
provision of Health Services at R-1/R-2.

E. Qggl_t_v_: Reeves County, a political subdivision of the State of Texas.

F. glounty Inmatg: An individual confined at the Facility under the auspices and
authority of the County or under supervision of a County or District Court having
jurisdiction in Reeves County, but shall not include an “lnrnate” as defined above or
any individuals not physically housed at the Facility.

 

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G.

H.

§§31;11_§§;!1§;§: The health care services provided hereunder as required by the BOP
Statement of Work. The term shall not include any security services of any nature.

ilaalm_§.¢i:/_im_iadministmm A PNA employee as P¢rmiff¢d by the S¢andards,

with supervisory authority over the Health Services Unit.

He_alth_$gy_lg§jlgj;: The physical area in the Facility set aside for Health Services.

E§§UL§£U_QM_S_M§Q[: A PNA employee designated on each shift to have

supervisory responsibility for the operation of the Health Services Unit.

lgA: The intergovernmental Agreement between the BOP and a County for
detention services for Inmates.

inmates An individual confined at the Facility under the auspices and authority of the
Federal Bureau of Prisons or other Federal detention agency, or under supervision of
a Federal court.

. l&l: The Limited Background Investigation required on all PNA and County

employees pursuant to the terms of the BOP Statement of Work.

. Mgd_i§&\_m[ggtgn The PNA employee designated by PNA to have the principal

responsibility for supervision of the medical services provided by PNA.

M_Se_ilig§_m_gl: the PNA document proposing the provision of medical
and related services to Reeves County Detention Center R-l/R-2, and incorporated

herein by reference.

MEBIMBLB§MS The Official numerical count of the number of inmates

present at the Facility at the end of each day.

ngatigg__(;g_gg§g: That contract between the County and a correctional
management company relating to the operation, management, and maintenance of the
Facility.

fm Either the County or PNA.

§tggggg_i_§: Amen'can Correctional Association (“ACA”) Standards for Adult
Correctional Institutions, most current edition; Joint Commission on Accreditation of
Healthcare Organizations (“JCAHO”) Ambulatory Care Standards; BOP IGA and
Statement of Work; applicable federal, state and local laws and regulations; and
accepted community standards of healthcare for Texas.

W§rden: The individual appointed by the County to administer the Facility.

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II.

III.

IV.

MPNA shall provide the Health Services at the Facility in accordance with
the Standards. However, if the Standards in effect as of the effective date of this
Agreernent are materially modified or amended, and as a result of such modifications or
amendments PNA is obligated to provide more or different services than those required
to be provided as of the effective date of this Agreement, including but not limited to
changes in personnel staffing and coverage shown on Exhibit A hereto, then the
procedure pursuant to Paragraph IV. A. 1.a., below, for adjusting the Per Diern Rate paid
to PNA shall be available for use by PNA.

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A. This Agreernent is for a term of four (4) years beginning effective March l, 2007
and expiring on February 28, 2011, with three additional two (2) year option
periods, unless sooner terminated as provided herein.

B. This Agreement may be renewed for subsequent periods after the initial
agreement period upon mutual agreement of the parties. This Agreement will be
subject to renegotiation regarding its renewal, a minimum of ninety- (90) days
prior to its expiration and if no agreement is reached, shall then expire.

§§M_]?_JS_;_ Physicians Network Association (PNA,) shall deliver health services to
Federal Bureau of Prisons inmates housed in the R-l/R-2 Units of the Reeves County
Detention Center. PNA shall provide all necessary personnel, equipment, supplies,
materials and services to perform the health care duties outlined in the CAR 6 RFP and
incorporated herein by reference. PNA acknowledges that any subcontract is subject to
the IGA between the County and BOP.

A. A " t'v

1. PNA will provide for and deliver Health Services to the Inmates at the
Facility pursuant to and in compliance with this Agreernent, the lGA and the BOP
Statement of Work. In the event a conflict exists between the terms of the
previously listed documents, the BOP Statement of Work will govem.

a. No amendment or modification to the IGA or Operating Contract,
including a material change to the scope of services, that becomes
effective after the execution of this Agreement by PNA will be binding
upon or obligate PNA to provide any goods or services of any nature,
unless and until: (i) the County has provided PNA with a full and
complete description of such amendment or modification; and (ii) PNA
has had a reasonable time to evaluate the financial impact upon PNA of
such amendment or modification; and (iii) the County has discussed with
PNA and received PNA’s requested change in the compensation to be paid
to PNA, if any, as a result of the proposed amendment or modification. In
the event that the change in compensation requested by PNA is not agreed

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to by the County, then either party would have the right to terminate an

Agreement upon thirty (30) days written notice to the other party.

2. FNA will design and implement written policies, procedures, and protocol
for the Health Services in compliance with the BOP IGA and Statement of Work.
PNA will provide the County copies of such written policies, procedures and

protocol.

3. PNA will plan, implement, direct, and control all clinical and

administrative aspects of the Health Services program.

4. PNA will cooperate with the County to obtain ACA accreditation at the
Facility, if required, but PNA shall not be obligated to pay any unusual or
extraordinary fee or expense in the course of such cooperation All standard,
typical and customary fees, costs and other expenses incurred by PNA in its
cooperation with the County’s efforts to acquire ACA accreditation for the

Facility shall be the sole responsibility of PNA.

5. PNA will achieve JCAHO accreditation within twenty-four (24) months of
the effective date of this Agreement and shall maintain continual compliance with
JCAHO accreditation standards thereafter during the remaining term of the
Contract or any extension thereof. All standard, typical and customary fees, costs
and other expenses incurred by PNA in the acquisition of JCAHO accreditation

shall be the sole responsibility of PNA.

a.) When accreditation time nears, PNA will perform two mock audits,
one six months in advance and one approximately one month before
accreditation. Corporate accreditation staff will be on-site at RCDC to
complete files and correct deficiencies, and will be present for the

accreditation process.

6 PNA will participate in the facility Contractor Quality Control (QCP)

ptogram as outlined in the BoP statement of work.

7. While PNA acknowledges that it is obligated to medically monitor
inmates receiving Health Services hereunder (such as periodically taking vital
signs, inquiring into general state, and offering toileting), the County will not
impose upon PNA any obligation or duty, of any nature, to provide security

supervision services for any inmates at any time.

8. PNA understands the Govemment may reduce the Reeves County invoice
or otherwise withhold payment for any individual item of nonconforming medical

service observed as specified in the IGA.

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B.i.’rrsannel

1. PNA will provide Health Services personnel who meet the minimum
qualifications required by the BOF IGA and Statement of Work, including
background checks and drug testing requirements The County, at its sole cost
and expense, shall perform the LBl on each PNA applicant. The results of any
LBI conducted by the County on any PNA employee or potential employee, shall
be provided and disclosed only to the corporate staff of PNA, who shall be
responsible for contacting the employee or potential employee in question
regarding such results, and insuring that any discrepancies in the results are dealt
with in compliance with the resolution procedures set forth in the IGA or
Statement of Work. PNA shall provide to the County documentation on each such
employee and/or coordinate with the County to make certain such employees
meet the minimum qualifications set forth above. At PNA’s option, the Warden
may be involved in the interviewing process for the Health Services Unit
Administrator and any other PNA employees who will work at the Facility, but
such involvement shall be limited to that of a consultant to PNA. The County
shall have no authority to hire, accept, train, or reject any applicant for

employment with PNA.

2. PNA shall provide licensed or certified personnel who are eligible and
authorized to work in Texas to provide Health Services. PNA agrees to

incorporate and enforce the BOP “Standards of Conduct.”

3. PNA will provide and distribute a written job description to each

employee that clearly delineates his/her assigned responsibilities

monitor performance of staff to verify performance in accordance with these job

descriptions, other provisions of the Contract, and the Standards.

4. PNA shall grant the County the right to deny admittance to the Facility to
any PNA personnel after first providing PNA with a reasonable basis for such
denial. ln the event a PNA employee is denied admittance, PNA shall provide
alternate personnel to supply the Health Services. Admittance to the Facility of

such alternate personnel is also subject to County approval.

5. Credentials for all PNA personnel performing Health Services shall be on
tile at the Health Services Unit. The records shall be made available upon request
to the County or the County’s designee. These liles shall include copies of
current state licenses, proof of professional certification, TB testing, proof of
professional liability coverage and all records required by the BOP IGA and

Statement of Work.

6. PNA shall be solely responsible for its employees including all taxes,
employment withholding, social security, or other wages for its employees. PNA
will indemnify the County for any such taxes, costs or fees that the County incurs

related to PNA employees.

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7. PNA will ensure that its staff (both employees and contract personnel)
complies with the County’s facility operational procedures, including sign-in and

sign-out procedures.

8. PNA acknowledges the requirement to comply with the Federal Wage

Determination rates.

C‘ El T.. lQ. .

1. PNA will provide Health Services Unit-related orientation and training for
all of its personnel providing Health Services, as required by the BOP IGA or

Statement of Work.

2. PNA will establish a medical library at the Facility for use by the Health
Services staff, to include basic reference texts as well as a current medical
dictionary, a Physician’s Desk Reference and current Nursing Practice textbook.

3. The County shall provide all PNA personnel with the basic forty-hour
Facility orientation as required by the BOP IGA or Statement of Work, and any

related annual required Facility training.

D. §p_ag§, Eggipmggt, and §§gmmgdjtig§

1. PNA shall, at its sole cost and expense, provide all consumable or
disposable medical supplies required by the BOP IGA or Statement of Work.
PNA shall be obligated to purchase all equipment required by such documents
that is not currently available for use by PNA at the Facility as of the effective
date of this Agreement, with the exception of equipment required to complete the

Health Services Unit renovation that the County has agreed to purchase.

a. PNA will be responsible for medical and office supplies and equipment
not currently existing in the Facility, as it determines necessary. PNA will
not supply examination gloves for Facility security staff. PNA will
furnish medical oxygen and provide hazardous waste disposal per OSHA

guidelines.

2. PNA shall only be responsible for the maintenance, repajr,
replacement of that equipment that is purchased or supplied by PNA
Additionally, PNA shall be responsible for any damages to the Facility, including

damages to any equipment, caused by PNA employees or agents.

3. Pursuant to PNA’s obligations to provide Health Services to the Facility,
and in connection with all of PNA’s obligations pursuant to this Agreement,
during the term of this Agreement, PNA shall have the right, at its own expense,
to install items of movable machinery and equipment in or upon the Facility,

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which items shall be identified by tags or other symbols affixed thereto as
property of PNA. All such items so identified shall remain the sole property of
PNA, in which the County shall have no interest, and all such items may be
modified or removed by PNA at any time, provided that PNA shall repair and
restore any and all damage to the Facility resulting from the installation,
modification or removal of any such items. All items of movable machinery and
equipment in or upon the Facility that are not so identified by PNA as required
herein shall be deemed to be the sole property of the County. Nothing in this
Agreement shall prevent PNA from purchasing or leasing items to be installed in
or upon the Facility, under a conditional sale or lease with option to purchase
contract, or subject to a vendor’s lien or security agreement as security for the
unpaid portion of the purchase price thereof, provided that no such lien or security
interest shall attach to any part of the Facility. At the termination of PNA’s
services under this Agreement, the County shall have the right to purchase from
PNA any equipment used in the Facility and owned by PNA at a price to be
mutually agreed upon by the County and PNA. PNA acknowledges that its right
to bring machinery and equipment upon the premises of the Facility is subject to
the reasonable security requirements of the Facility and the County’s approval,

which shall not be unreasonably withheld.

E.Healtb_caral§scur_ds

1. PNA shall maintain healthcare records in compliance with the BOP IGA,
Statement of Work and the Standards. The healthcare records will be timely,
complete, accurate, and comply with the BOP Program Statement 6090, Health
Inforrnation Management, in preparing, formatting, documenting, maintaining,
releasing and all medico-legal aspects of an inmate’s medical record, including
utilizing forms consistent with those used by the BOP. All health records and
files are the property of BOP, and PNA shall maintain the confidentiality of such
records at all times. Additionally, the Parties acknowledge that all information
relating to Health Services provided pursuant to this Agreement shall be subject
to, and protected by, the provisions of the Health Inforrnation Portability and

Accountability Act (“HIPAA”).

2. PNA acknowledges and accepts the requirement to utilize the SENTRY
and SMD/MDS TRM systems as per Program Statement 6031, Patient Care.

3. PNA shall maintain proper confidentiality of medical records at all times

during any County or outside agency review.

4. PNA shall supply medical record folders, consistent with the specification
provided by the BOP, only for those inmates who are new designations into the
Facility, or in cases where transferred medical records cannot be located. The
BOP shall provide the County and/or PNA all applicable B()P forms necessary to

document an inmate’s medical record.

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5. PNA shall comply with the Health Services Program Statements regarding
transfers and medical designations of inmates assigned to the Facility. Medical
designations to BOP Medical Centers or other government facilities will be at the
sole discretion of the BOP.

F..Hsalth_§ats

1. PNA will provide Health Services twenty-four (24) hours per day, seven
days per week, in accordance with the staffing set forth in Exhibit A. PNA will
provide Health Services to all Inmates in accordance with the Standards. PNA
will provide physician on-call availability twenty-four (24) hours a day.

2. Subject to the terms and conditions of this Agreement, Health Services for
inmates will include, but not be limited to: routine health care; nursing care;
emergency care; medical, mental health and dental care; treatment of acute and
chronic conditions that can be managed on-site; intake health screenings; TB
testing (and isolation, if necessary;) identification and treatment of communicable
disease; physical examinations and all other care outlined in the BOP IGA and
Statement of Work. and further described below. All care will provided with the
highest level of confidentiality and privacy attainable.

3. If, in the opinion of the Health Services Administrator or his/her designee,
the inmate cannot be properly treated in the Facility, the inmate may be referred
to a licensed community facility that can provide the necessary treatment and
which has been mutually agreed upon by the County and PNA for provision of
such services. Admissions that arise from emergency situations are to be
reviewed by the Health Services Administrator or his/her designee within twenty~
four (24) hours of admission PNA shall comply with all BOP requirements for
notification and documentation relating to inmate care.

4. ln the event of an inmate’s death, PNA will collect any necessary
information required for a mortality review, conduct the review per PNA policy,
and forward the report to the County.

5. PNA shall cooperate with and/or assist the County in complying with all
security measures required by the Standards, including the IGA and BOP
Statement of Work. However, PNA is not obligated to provide security services
for any inmates pursuant to this Agreement.

6. On-Call Health Care: Physicians, providers and nurses at the facility will
be available for on~call duties. Health care staff will be on-call for consultation or
return to the facility at all times. ln addition, PNA’s Medical Director, our
numerous staff physicians and providers, corporate nurses and Psychologist, are
available at all times for telephone consultation

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7. Ouality Assurance and Peer Review: A designated employee will oversee
Quality improvement and be responsible for collecting and organizing QA/QI
data. A monthly Ql audit is performed which includes chart review.

a. County Representatives, the Warden and BOP Administration may to
participate in the QI process

b. Peer review will be performed according to the standards by PNA for
all doctorate-level and mid-level practitioners PNA has a group of Board
Certified physicians who perform this task for us.

c. PNA will share OI data with the County, and share peer review
information to the extent pennith by law.

d. PNA shall employ consultants who have BOP expertise to supervise
audit and accreditation activities.

8. Inmate Intake Screening: will be performed on arrival at the Facility by
trained healthcare personnel: if circumstances prevent the immediate performance
of the intake screening, it will be completed within twenty-four hours of arrival.
The screening will include: inquiry into all aspects of health care required by
ACA Standards; scheduling of necessary evaluations or tests; orientation to health
services at the facility, and documentation of current medications The inmate
may be scheduled for further health care, treated immediately, or referred to
general population. The receiving screening will be included in the inmate’s
health record. The Inmate will also receive instructions on accessing medical,
mental health and dental care and provided a Handbook, prepared in coordination
with the County, which outlines access to facility health care.

9. Health Appraisal: A health appraisal will be conducted within fourteen
days of the inmate’s arrival and periodically thereafter in accordance with ACA
Standards. The health appraisal will include a review of past medical history and
the health record. Any further care required will be ordered or completed at this
time, and if appropriate, the inmate will be referred to the Chronic/Special Needs
Clinic system.

l(). Primary and Preventive Medical Care: Primary health care occurs through
the various levels of Siclc Call and through of inmate education opportunities.
Preventive care also includes education and Infection Control, as well as Chronic
Clinic involvement Inmates will receive oral hygiene instruction. Testing and
treatment for the prevention or control of communicable diseases, such as TB and
HIV, will be ordered as appropriate Vaccinations and immunizations will be
given to identified and high-risk inmates. These may include flu shots,
Pneumovax, INH, etc.,) according to national treatment guidelines. The Infection
Control Nurse at will be responsible for administration of the program.

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11, Nurse Sick Call: Siclr call requests will be triaged daily, logged, and the
inmate scheduled to be seen immediately by a nurse, or scheduled for further
evaluation by a physician/extender, dentist or mental health provider. Sick call
will be performed in the Health Services Unit or cell-side as necessary, five days
a week. Scheduling of Sick Call will be coordinated with Administration.

12. Doctor/Provider Call: the Physician, Mid-Level Provider, Dentist and
Mental Health staff will perform various Provider Clinics. Necessary care, to
include medications, laboratory and diagnostic tests and medical diets, will be
ordered when necessary. Inmates with chronic conditions or special needs will be
seen as needed, but not less than every 180 days. Scheduling of Provider Call
will be coordinated with Administration. All routine medical care will be
conducted in the Health Services Unit when possible.

13. Specialty Clinics (“Chronic Clinic”): Inmates with chronic medical
conditions or special needs (hypertension, HlV-positive, mental illness or wheel-
chair bound, for example,) will be seen by a provider on a regularly scheduled
basis, but no less than every 180 days. Condition-specific education, appropriate
medical treat:rnent, special diets and medication will be provided as necessary. A
Chronic Clinic Nurse will be designated to manage this population. Treatment
plans, reflecting the BOP Clinical Guidelioes, exist for primary chronic
conditions.

14. Observation Care: PNA will provide routine nursing care, chrome care
and/or convalescent care as indicated using designated ‘observation’ beds. This
type of care does not require the creation of a separate inpatient health record or
special licensing

15. Tertiary Medical Care: PNA will provide all necessary medical services,
at our expense, (with the exception of purchasing prescribed medications and “lab
studies,”) either at the facility or an approved off-site location. These services
include, but are not limited to, specialty medical consultations, diagnostic testing,
surgical and outpatient procedures, hospitalization, and physical therapy. The
County will be responsible for all routine transportation and required security
associated with these services. PNA will be responsible for the cost of all
emergency medical transportation.

16. Outpatient Referrals and Consultations: PNA will schedule specialty
treatment by off-site medical providers in accordance with Standards and BOP
Policy. The facility Physician will review all consultation recommendations,
which will be approved by PNA Utilization Management staff. Consultations will
be ordered in a timely fashion, as medically indicated, and all off-site referrals
will be logged. All necessary specialty care will be provided (e.g.: cardiology,
ophthalmology, oncology, etc.,) as determined by the Medical Director and PNA
Utilization Management. PNA’s corporate staff will meet regularly with
providers to evaluate service delivery. When possible, consultations and

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procedures may take place on-site. Telemedicine may be implemented on a
limited basis, but to enhance, not to replace, direct care.

17. Hospitalization: When an inmate requires a higher level of care, he may be
hospitalized at a licensed community facility. PNA will be financially responsible
for all costs. An inmate with severe or persistent mental illness, which is not
responding to treatment in the Facility, may be transferred to an approved BOP
institution. PNA is not responsible for treatment or hospitalization of inmates
who become ill or injured as an escapee; or when housed at locations away from
the Facility,

18. Physical Therapy and Rehabilitative Medicine: these services will be
provided as medically necessary, and when possible, in the correctional facility
using trained healthcare staff or specialists brought on-site.

19. Inmate Health Education: Education is delivered in a variety of ways:
verbally; through printed, audio and video materials; organized educational
activities; and during health encounters. Inmates receiving treatment or
medications requiring Inforrned Consent will receive additional education, and
Chronic Clinic/Special Needs patients will receive education during physician
encounters. lnformation will be obtained from outside sources (I`exas
Department of Health, the CDC,) and made available in the Health Services
Units.

a. Facility Staff: On request, PNA will provide staff to assist with the
Facility training program. PNA shall also provide the Pathogen Exposure
Prevention Plan for the Facility, updated annually, and provide regular
training and instruction on Standard Precautions to Facility staff.

b. PNA Staff: ln-service training during monthly staff meetings,
conferences, videos and printed materials are examples of the methods of
training provided to staff.

20. Mortality and Morbidity Review: In the event of an inmate death, PNA
will cooperate fully with BOP and the County and will complete a mortality
review in accordance with BOP’s policies and procedures, providing pertinent
data, reports and support, in a manner that meets federal and state requirements

21. Agency Required Documentation: Any and all reports and documents
required or requested by BOP and the County will be provided in a timely
manner. PNA understands that the work product created during the contract
period remains the property of BOP.

22. Facility Employee Health Care: PNA will, when requested by
Administration, provide limited health care services to Facility employees. These
services will include:

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a. Assistance with occupationally related accidents and illnesses: PNA will
provide ‘iirst responder’ service for accidents or injuries, including triage,
treatment and referral; and communicate health information to off-site
providers, if required,

b. OSHA Compliance: PNA will ensure all health-related activities meet
OSHA requirements, and will be a partner on the Environmental Safety
and Health Committee.

c. Medical Emergencies: PNA will provide emergency medical services to
facility staff. Emergency care shall consist of “initial response” by Health
Services personnel and emergency triage, stabilization and referral to
personal physician, local hospital or otherwise in compliance with Facility
policies and procedures.

d. PNA’s administration of the Facility Employee Health Program, if
implemented at the Facility, will be covered under a separate contract. lt
would include a vaccination/immunization program, employee physicals
and other activities as agreed upon.

e. Education: PNA will assist in developing health training for Facility
staff, and will participate in the Orientation as presenters, if requested.

23. Prostheses: PNA will be financially responsible for all medically
necessary dentures, dental appliances, and medical prosthetic devices except as
follows: if the transferring institution has initiated a procedure for either a medical
or dental device and the device has been completed, the device and case tile will
be provided to I’NA. Any further expenditure is the responsibility of FNA.

24. Inmates in Segregation: health services to inmates in administrative or
disciplinary segregation will be provided in the segregation area when feasible.
Health Services staff will assess inmates placed in segregation for conditions that
require additional monitoring Segregated inmates shall be seen daily by a health
care worker and afforded the opportunity to request Sick Call. Medications will
be delivered cell-side, and inmates in segregation will be seen by Mental Health
Staff every thirty days of confinement

25. Inmate Food Service and Barber Shop Workers: Physical exam and
medical clearance will be provided for inmates selected for Food Service and
Barber Shop work.

26. Immunizations for Inmates: PNA will provide immunizations as required
by current treatment guidelines, and will document administration according to
the Standards.

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27. Utilization Review: The Corporate UR Committee (URC) evaluates
performance, delivery, trends and costs. The Corporate URC reviews all requests
for care within seventy-two hours of receipt All reports and documentation are
available for County or BOP inspection at any time,

28. Co-Payment: A Co-Pay System will be implemented, if requested by
BOP or the County.

29. 'I`ransportation: Emergency transportation (such as ambulance service,)
will be provided by PNA: the County will provide routine or non-emergent
transportation

30. Security: The County will provide security for PNA’s employees and
agents consistent with the security provided other staff at the Facility,

31. Policy and Procedure Manual and Treatment Protocols: written to mirror
JCAHO and ACA Standards and meet state practice standards

32. Communicable Disease and lnfection Control: Comrnunicable disease
will be handled in accordance with and current CDC/OSHA/JCAHO guidelines
and ACA standards. PNA will implement an infection control program to
include, but not be limited to, concurrent surveillance of patients and staff,
prevention techniques and treatment and reporting of infections in accordance
with the Standards. An lnfection Control nurse will be designated to manage this
program element Treatment plans exist for tuberculosis, HIV, Hepatitis A, B and
C. Biohazardous waste will be handled according to OSHA/CDC regulations

a. Tuberculosis will be aggressively monitored. Inmates will be screened
for TB at and receive a PPD or chest x-ray at intake. Continuing
surveillance will be in accordance with the CDC/MMWR Program
Statements and the BOP Treatment Guideline Statements.

b. HIV/AIDS will be monitored, using DHHS and USPHS guidelines and
appropriate BOP Program Statements. Testing will be done at inmate
request or physician recommendation and treatment offered to infected
imnates. Certified staff will perform pre- and post-test counseling.
Immunizations appropriate to the condition will be administered according
to current treatment guidelines.

c. Immunizations (influenza, Pneumovax, etc.,) will be given to inmates
meeting appropriate criteria (e.g.: chronic/communicable illness, frail
elderly,) established by the U.S. Preventive Health Task Force.

d. PNA will follow the HIV and Hepatitis guidelines outlined in the most
current BOP Program Statements and Treatment Guidelines.

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G.

Dental_£am

l. Dental Services: PNA will provide customary and necessary diagnostic,
preventive, restorative and rehabilitative dental care in accordance with the
Standards. The goal of treatment will be to provide basic oral health care that
will: diagnose existing conditions; provide relief from pain and elimination of
infection; preventive care; education, and ultimate, restoration or maintenance of
adequate dental functions and mastication. All dental services will be provided
on-site when possible, using the staffing as indicated in Exhibit A.

2. Dental Screening, performed by appropriately trained health services staff
within seven days of arrival, if not performed at the BOP Receiving Facility or
within the past one hundred eighty (180) days;

3. Dental Examination, by a licensed dentist, performed within twelve
months of admission, supported by x-rays and other diagnostic tools, if necessary;

4. Treatment, not limited to extraction, will be provided according to the
dentist’s judgment that care is necessary for maintaining the inmate’s health
status. Dentists licensed in the State will perform dental treatment Treatment
will be prioritized and provided in accordance with BOP standards Dental
Assistants will perform related duties including scheduling and assist the Dentist
during Provider Sick Call, which will occur one day a week in the Facility. All
treatment will be provided according to an lndividual Treatment Plan.

5. Preventive Care: involves prevention, treatment and education. Periodic
examinations and treatments (e.g.: fillings, root scale plam'ng,) will be provided
for a variety of conditions that interfere with mastication. Inmates will be
expected to participate in their own oral care and will receive education and
instruction through health encounters and educational materials

6. Restorative and Rehabilitative Care: is available for eligible inmates, and
will include more complex treatment, including ordered oral surgeries, dentures,
etc., with the goal of restoring oral health and mastication.

7. PNA will develop a protocol for treatment of dental emergencies with a
response time of twenty-four (24) hours from the occurrence.

P rvi

l. PNA shall provide all pharmacy-related services (ordering, storage,
distribution, documentation) in compliance with the Standards and the Texas
Board of Pharmacy and Federal Drug Enforcement Administration.

2. PNA shall obtain and maintain any necessary licenses to provide
pharmacy services at the Facility.

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3. The County shall be responsible for the provision and cost of all
prescribed medications

`4. The County shall ensure on-call coverage by a licensed pharmacist

twenty-four (24) hours/day, seven (7) days/week for emergency needs. PNA shall
provide staff for pill call distribution in accordance with Exhibit A and to meet
special inmate needs. Staff will provide inmate instruction on medication usage
and compliance, and ensure an Informed Consent is obtained for inmates
receiving psychotropic medications

5. PNA shall provide and is responsible for the cost of all over-the-counter
medications ordered by Health Services Staff for non-indigent inmates, PNA is
not responsible for over-the-counter products purchased from the Commissary by
Inmates or those prescribed by an outside provider.

6. PNA shall require providers to follow the PNA formulary and to provide
generic medications whenever possible. PNA shall store and distribute all
medications in compliance with state and federal regulations and the Standards.

7. Supplies

a. PNA shall provide hypodermic supplies to include needles, syringes,
and disposal containers that meet Occupational Safety and Health Act
(OSHA) requirements

b. PNA shall be responsible for appropriate disposal and/or
destruction of needles and syringes, as well as all of the medical hazardous
waste. PNA’s medical waste disposal subcontractor will create all
documentation required by the Standards and such documentation will be
maintained by PNA and made available to the County.

c. PNA shall indemnify the County for any costs, fees, or expenses
incurred due to PNA’s breach of the obligation set forth in Section 6b.

8. PNA shall provide a Medication Administration Record for each Inmate
receiving medication The record will include the name of the practitioner
ordering the medication and all other necessary information required for a
medication order.

9. The County shall provide a licensed consultant pharmacist, as required by
the Standards, but no less than annually, to conduct inspections of all Facility
areas where medications are maintained, to determine compliance with the
Standards, with the inspection to include but not be limited to review of expiration
dates, storage and medical records. The County shall provide PNA a copy of the
inspection report.

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10. PNA shall ensure that Inmates do not have unauthorized access to the
Phannacy and will indemnify the County for any damages incurred if the inmates
gain unauthorized access.

11. Medication administration will occur at a minimum twice daily, All
medications shall be securely stored and inventoried. Medications approved by
the Administration may be kept-on-person by the inmates, Medication will be
distributed cell-side for segregation and other special management inmates.

L l! ln. .s .

1. All laboratory services provided to Inmates shall be the financial
responsibility of the County. “Lab services,” as relating to this contract, are tests
of body tissues or fluids that can be drawn or taken on site and sent to a referral
laboratory. PNA shall provide Clinical Laboratory Improvement Amendments
(“CLIA”)-waived on-site diagnostic tests.

2. Emergency laboratory work shall be performed at a local hospital or
accredited laboratory near the Facility to the extent reasonably available under the
relevant circumstances Results shall be immediately forwarded to the requesting
provider and a written report shall follow within twenty-four (24) hours

J. Badg;lg_gy_§_¢_[yi_ge§_ Routine radiology services for all Inmates housed at the
Facility, to include all fluoroscopy and special studies such as MRI, CA'I` Scans,
and ultrasounds, are the financial responsibility of PNA. PNA will maintain,
inspect and calibrate all on-site equipment (if such exists.) PNA will use mobile
x-ray services to the extent possible.

 

1. PNA will provide referrals to off-site healthcare providers that are
consistent with the Standards. '

2. All referrals, procedures, hospitalization or outpatient care requiring pre-
authorization by BOP will be managed by PNA according to the BOP IGA and
Statement of Work. All routine referrals for care outside the Facility to health
care providers shall be approved by the PNA Utilization Review Department and
designated personnel prior to scheduling,

3. PNA’s personnel will meet regularly with representatives from the
designated hospitals and other providers to coordinate the referral of Inmates.
Policies and procedures shall be developed regarding referral methods,
scheduling, and transportation, reporting of test results, medical records, acute
care hospitalization, and patient follow-up.

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optical services as needed, to include providing examinations and furnishing
prescription eyeglasses for all Inmates housed at the Facility, whose vision is
20/50 or greater in any eye. PNA will not provide contact lenses unless medically
indicated, Inmates with diabetes or other health conditions will receive regularly
scheduled ophthalmology appointments and appropriate tests.

MML PNA will provide emergency medical services in

compliance with the BOP IGA and Statement of Work, to include the following:
written policies and procedures concerning emergency transfer and transportation
of inmates; arrangements for emergency twenty-four (24) hour on-call physician
coverage; coordination with Facility security personnel for transportation when
the immediate transfer of an inmate is indicated; emergency treatment for visitors
and staff consisting of “initial response” by Health Services personnel, emergency
triage, stabilization and referral to personal physician, local hospital, or otherwise
in compliance with Facility policies and procedures; and physician care, when
appropriate, PNA will also provider twenty-four hour on-call physician, dentist
and mental health assistance; rapid response to emergency medical situations in
the facility; in-service training on emergency procedures; written policies and
procedures concerning emergency transfer and transportation of inmates;
additional personnel from other FNA facilities available for extended situations;
and a Facility Disaster Drill to be organized and practiced according to BOP
guidelines, to ensure staff is prepared for larger-scale emergencies. PNA is
financially responsible only for inmate ambulance transportation and inmate off-
site emergency care.

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1. PNA will provide limited routine on-site mental health services to Inmates
using the staffing pattern outlined in Exhibit A Services will be in compliance
with the BOP IGA and Statement of Work, to include:

a. Written policies and procedures regarding care and treatment:

b. Arrangements for emergency twenty-four (24) hour on-call crisis
services:

c. Initial intake screening, performed by trained staff as part of the medical
intake screening process, on arrival at the Facility: if circumstances
prevent the immediate performance of the intake screening, it will be
completed within twenty-four hours of arrival. It will ensure that any
immediate mental health needs (detoxification, suicidality, necessary
medications, current mental health complaints) are addressed:

d. Mental Health appraisal for newly committed inmates by a mental
health professional within fourteen-days of arrival as per the Standards.

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This includes a more in-depth exploration of the inmate’s mental health
history. lntrasystem transfers will receive a psychological update if a full
appraisal has already been done:

e. Referral, evaluation and treatment of referred inmates, as necessary.
Referrals for evaluation from an appraisal will occur within fourteen days
of referral request date and will include a thorough history and
development of an Individual Treatment Plan if necessary:

f. Mental Health sick call:

g. Assistance with the development of a Facility Suicide Prevention Plan
and training program:

h. Development of Seclusion and Restraint Policies:
i. Transfer of inmates to an appropriate BOP facility when warranted:

j. Psychotropic medications, Informed Consents and treatment plans for
identified inmates:

k. Monthly Ql audits to assess medication compliance and continuity of
care;

l. Case Management services, with individual treatment plans, for inmates
receiving psychological services:

m. Mental Health Chronic Clinic: inmates with identified mental illness
will be seen no less than every ninety days:

n. Health Record: all activities will be documented in the medical record,
SENTRY, or the SMD/MDS TRM, as appropriate, Quality improvement
activities will take place monthly, with monthly and quarterly meetings to
discuss service delivery. PNA’s Director of Mental Health Services, a
licensed Psychologist, will supervise the program:

o. Medication management and monitoring as clinically indicated;
provision of a psychiatric medication formulary; medication distribution;
and program management by the Physician; medications will be
distributed in accordance with the standards; delivery of medications cell-
side when necessary. Medication Administration Records will be audited
monthly; clinical staff will be notified when an inmate misses three
consecutive doses of psychotropic medication:

p. Assessment, diagnosis and treatment (including Chronic Care Clinic):
as necessary, approved forms will be used, and diagnostic tests may be

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administered Treatment will include short- and long- term individual and
group therapies, classes, audio, visual and reading materials. Mental
Health Chronic Clinic and Sick Call will be used to gauge medication
effectiveness and treatment appropriateness Regular staffing of patients
will occur. All inmates in treatment will have an individualized treatment
plan prepared:

q. Scheduled segregation visits, management of suicidal inmates: All
inmates in segregation will be evaluated by Mental Health Staff every
thirty days, regardless of reason for segregating. Health Services Staff
will assist Adrninistration in ensuring inmates entering Segregation have
no mental or physical prohibitions Inmates placed on suicide watch will
have treatment coordinated by mental health staff. No inmate may be
placed on, or removed from, suicide watch without notification and
participation of the mental health providers. Inmates placed on or
removed from suicide watch will have written documentation placed in
their charts. lnmates on suicide watch will have contact with other health
professionals daily, such as at medication pass.

r. A regular audit of a sample of patient charts of inmates on the mental
health caseload will be performed monthly to assess medication
compliance and continuity of care as part of the OI program.

O. Inmate intang

1. A Health Services employee will medically screen all Inmates on arrival at
the Facility, with the findings entered into the inmate’s health record, If
circumstances prevent the immediate performance of the intake screening, it will
be completed within twenty-four hours of arrival. The preliminary screening shall
include areas of concern identified in the Standards, such ass current health status,
physical appearance, evidence of intoxication, current medications, dental status,
and chronic health problems.

2. All inmates shall be screened for tuberculosis within forty-eight (48) hours
of intake and thereafter according to the Standards. Screening shall consist of
either a PPD (Mantoux method) or chest x-ray.

3. PNA will assist in the inmate Orientation to ensure understanding the
procedures for gaining access to Health Services,

P. Health Appr_a;i§al, PNA shall complete a health appraisal within fourteen (14)
days of admission, per ACA standards, for both inter- and intra-system transfers,
and shall maintain a copy in the inmate’s health record. Tests and examinations
will be updated as needed. PNA shall develop an individual treatment plan for
each Inmate who requires on-going care based on an assessment of the inmate’s
needs as outlined in the Standards.

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Q.

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1. PNA shall maintain books, records, and documents relating to the services
provided at the Facility hereunder, in accordance with generally accepted
accounting procedures and practices, which the County may review and/or audit
upon reasonable request. Said items shall be maintained for a period of time
sufficient to comply with the Standards.

2. Copies of all records, documents, reports, notes or other written material,
either prepared or maintained by FNA for the administration and management of
this Agreement will be turned over to the County upon cancellation, termination
or completion of this Agreement.

games

l. PNA shall provide the Health Services at the Facility by providing at least
the minimum staffing and shift coverage shown in Exhibit A, attached hereto and
incorporated herein by reference Except as otherwise provided herein, Exhibit A
may only be changed by written mutual agreement of PNA and the County.
Overtirne or temporary PNA employees may temporarily fill any PNA staffing
vacancy, so long as the person holding such position meets the minimum
requirements of the position and the security requirements of the Facility. PNA
shall be responsible to provide to the County supporting documentation of such
overtime, temporary employees and qualifications The County or its designee
shall have no right or authority to adjust PNA’s Per Diem Rate payment (a) where
the County’s or its designee’s actions have prevented PNA from filling the
vacancy, or (b) for any vacancy that arises in a position that PNA is not required
to provide pursuant to the staffing and shift coverage shown in Exhibit A,
attached hereto.

2. In the event that the BOP, the County or any other entity assigning
inmates to the Facility assesses charges or backcharges the County for the costs
relating to any vacancy in staffing and shift coverage required by Exhibit A for
the provision of Health Services hereunder, PNA shall promptly pay to the
County any such costs.

3. Only credentialed or licensed personnel eligible to work in Texas will
provide clinical services. Each position shall have a specific job description.
PNA accepts the requirements of the LBI (Limited Background Investigation) as
outlined in the IGA or Statement of Work.

4. A minimum of one individual licensed or credentialed and eligible to work
in Texas will be scheduled on each shift. LVNs will assist with coverage for pill
call, nurse sick call, treatments and segregation rounds, medical observation
rounds, emergency assessments and assistance with provider sick call. The

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Health Services Administrator will be on duty forty hours per week and available
by telephone or pager at all times. Clerks and Patient Care Assistants will provide
assistance with record keeping, maintenance of the Health Record System and
other duties.

5. A Physician and/or Mid-Level Provider will provide direct patient care.
The Physician shall be the Facility Medical Director, and provide 24-hour on4a1l
consultation A dentist, dental hygienist and dental assistant will provide routine
dental services. Appropriately credentialed mental health staff will provide
psychological services with supervision by a licensed doctoral-level psychologist
A consulting psychiatrist is available.

6. PNA will provide employee training in accordance with JCAHO and ACA
standards, to include pre-employment training. PNA staff will receive an
orientation to the facility, Health Services Unit and PNA policies after hiring.
Additional training opportunities will be provided and PNA will establish a
medical library at the Facility. All staff providing direct patient care will be Bl.S
certified and required to successfully master PNA’s required core competencies.

7. PNA’s in~house ‘travel nurses’ will obtain BOP clearance, as will PNA’s
two Vice Presidents of Nursing, the Vice President of Operations, and the Vice
president of Medical Staff.

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A. The County shall provide and maintain the original equipment, space, fumiture,
and fixtures required for the operation of the Health Services Unit.

B. All equipment and supplies used in providing services herein which are purchased
by the County or were available for use at the Facility by PNA as of the effective
date of this Agreement, shall remain the property of the County or the Facility
upon termination of this Agreement.

C. The County will provide security for PNA’s employees and agents consistent with
the security provided other staff at the Facility. Such services shall include, but
are not limited to, the County providing a corrections officer at the Health
Services Unit anytime an Inmate is being held, evaluated or treated by PNA
personnel. The County is solely responsible for providing security services for
inmates while they are in the Health Services Unit or locations off the facility.

D. The County will provide transportation of lnmates for non~emergency Health
Services,

E. The County shall provide or make available all BOP Policy Manuals, Program

Statements, Technical Reference Manuals, forms, logs or other documentation

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G.

referenced in the BOP lGA or Statement of Work required to operate the Health
Services Unit in compliance with the Standards.

Prior to the execution of this Agreement, the County shall provide PNA with
copies of its Health Services Staffing Plan, described in, and required by, the BCP
Statement of Work and thereafter, shall provide PNA with copies of all changes
thereto, within five (5) days of the date such changes become effective.

The County is responsible for the cost of all prescribed medications and “lab
services,” as outlined elsewhere

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PNA will participate with the County in designing disaster plans for a variety of scenarios
that may be encountered in the correctional environment in general and in this particular
geographic location. Plans will include procedures for the delivery of Health Services in
the event of a disaster such as fire, tomado, hurricane, epidemic, riot, strike or mass
arrests. The plans will include call down communication rosters, areas designated for
medical use, location and inventory of emergency supplies, evacuation plans and other
pertinent information. Drills will be held according to Standards.

VIIl.

A.

the RFP, PNA will:

' During the performance of the responsibilities outlined in

Not discriminate against any employee or applicant for employment because of
race, color, religion, sex, or national origin

Take affirmative action to ensure that applicants are employed, and that
employees are treated during employment without regard to their race, color,
religion, sex, or national origin. This shall include, but not be limited to, (i)
employment, (ii) upgrading, (iii) demotion, (iv) transfer, (v) recruitment or
recruitment advertising, (vi) layoff or termination, (vii) rates of pay or other forms
of compensation, and (viii) selection for training, including apprenticeship

Post in conspicuous places available to employees and applicants for employment
the notices, to be provided by the County, which explain this clause.

In all solicitations or advertisement for employees placed by or on behalf of PNA,
state that all qualified applications will receive consideration for employment
without regard to race, color, religion, sex, or nation origin.

VIII. IN§QRANQE AND INDEMNIFIQTIQN

A.

lg§grang. PNA shall obtain, maintain, and keep in force the applicable insurance
coverage required by the BOP IGA and Statement of Work, including but not
limited to coverage for civil rights violations However, notwithstanding any

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other obligation expressed herein to provide insurance coverage, PNA is not
obligated to provide: (a) Insurance coverage against violations of civil rights
arising from the performance by the County of its obligations under the Operating
Agreement; or (b) Commercial property insurance to include rental interruption
coverage. PNA will name the County as an additional insured under such
insurance coverage that PNA is required to provide hereunder, and the County
shall be entitled to all notices under all insurance policies covering claims that
may arise hereunder. FNA shall furnish the County with certificates of insurance
establishing the required coverage prior to providing the Health Services at the
Facility, The County shall be entitled to thirty days written notice prior to any
reduction in coverage or termination of coverage, except that the County shall
receive ten (lO) days notice of cancellation for non~payment of premiums. The
County shall be exempt from, and in no way liable for, any sums of money that
may represent a deductible in any insurance policy obtained by PNA. The
payment of such deductible shall be the sole responsibility of PNA.

' ' = ' __ ' . PNA shall defend
and save harmless the County and the BOP, and their respective agents, officials
and employees, from any and all claims, requests, assertions, demands, suits,
proceedings, and causes of action of every kind and description which may be
brought, asserted or made against the County or the BOP on account of: (i)
PNA’s performance of this Agreement (or failure to perform); (ii) PNA’s or its
affiliates’ violation of any laws, negligent act, omission or gross misconduct; (iii)
PNA’s or its affiliated breach of this Agreement; or (iv) a loss of or damage to
any property or for injuries to or death of any person, caused by, arising out of, or
contributed to, in whole or in part, by reason of any alleged act, failure to act,
omission, professional error, fault, mistake, negligence or gross misconduct of
PNA, its employees, agents, representatives, or subcontractors, or employees,
agents, or representatives of the subcontractor in connection with or incident to
the performance of this Agreement, or arising out of workers’ compensation
claims or claims under similar such laws or obligations. PNA’s obligations to
defend the County and the BOP under this Section shall not extend to any portion
of any claim, request, assertion, demand, suit, proceeding or cause of action
alleged to have arisen from, or alleged to have been caused, in whole or in part,
by the negligence or gross misconduct (including the failure to act) of the County,
the BOP or their respective agents, representatives or employees. Any provisions
or limits of insurance set forth in this Agreement hereunder, shall not limit PNA’s
liability pursuant to this Article VIII. If PNA is obligated to provide a defense
hereunder, and fails to provide such a defense, then the County may provide such
defense and PNA shall be obligated to pay and reimburse the County for the costs
and fees of said defense to the same extent that PNA was obligated to provide
said defense hereunder.

C. Ingl§mnjfigag`gg Qf glaim§ P_rgveg agg'n§t The §ounty and the BQP. PNA shall
indemnify and hold harmless the County and the BOP, and their respective

agents, officials and employees, from any and all claims, requests, assertions,

 

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demands, suits, actions, proceedings, loss, cost, and damages of every kind and
description, including any attorney fees and/or litigation expenses, which may be
brought or made against or incurred by the County or the BOP on account of: (i)
PNA’s performance of this Agreement (or failure to perform); (ii) PNA’s or its
affiliates' violation of any laws, negligent act, omission or gross misconduct; (iii)
PNA’s or its aftiliates’ breach of this Agreement; or (iv) a loss of or damage to
any property or for injuries to or death of any person, caused by, arising out of, or
contributed to, in whole or in part, by reason of any Proven alleged act, failure to
act, omission, professional error, fault, mistake, negligence or gross misconduct
of PNA, its employees, agents, representatives, or subcontractors, or employees,
agents, or representatives of the subcontractor in connection with or incident to
the performance of this Agreement, or arising out of workers’ compensation
claims or claims under similar such laws or obligations For purposes of this
Article VIII, “Proven” means a court of competent jurisdiction has ruled on the
matter or the parties have entered into a settlement agreement PNA’s obligations
to defend and indemnify the County and the BOP under this Section shall not
extend to any portion of any claim, request, assertion, suit, proceeding, cause of
action, or demand Froven or alleged to have arisen from, or Proven or alleged to
have been caused, in whole or in part, by the negligence or gross misconduct
(including the failure to act) of the County, the BOP or their respective agents,
representatives or employees. Any provisions or limits of insurance set forth in
this Agreement hereunder, shall not limit PNA’s liability pursuant to this Article
VIlI.

D. me_of_c_l_a_im§_alleged_agan§_t_£b!,§. The County shall defend PNA and its

agents, officials and employees, from any and all claims, requests, assertions,
demands, suits, proceedings, and causes of action of every kind and description
which may be brought, asserted or made against PNA on account of: (i) the
County’s performance of this Agreement (or failure to perforrn); (ii) The
County’s or its affiliates’ (not including PNA) violation of any laws, negligent
act, omission or gross misconduct; (iii) The County’s or its affiliates’ (not
including PNA) breach of this Agreement; or (iv) a loss of or damage to any
property or for injuries to or death of any person, caused by, arising out of, or
contributed to, in whole or in part, by reason of any alleged act of negligence or
gross misconduct by the County, its employees, agents, representatives, or
subcontractors (excluding PNA), or employees, agents, or representatives of the
subcontractors (excluding PNA) in connection with or incident to the performance
of this Agreement. 'Ihe County’s obligations to defend PNA under this Section
shall not extend to any portion of any claim, request, assertion, demand, suit,
proceeding or cause of action alleged to have arisen from, or alleged to have been
caused, in whole or in part, by the negligence or gross misconduct (including the
failure to act) of PNA or its agents, representatives or employees. Any provisions
or limits of insurance set forth in this Agreement hereunder, shall not limit the
County’s liability pursuant to this Article VIII. If the County is obligated to
provide a defense hereunder, and fails to provide such a defense, then PNA may
provide such defense and the County shall be obligated to pay and reimburse

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PNA for the costs and fees of said defense to the same extent that the County was
obligated to provide said defense hereunder.

‘ ‘ _ _ ' - ___= ' - .The County shall indemnify and
hold harmless PNA and its agents, officials and employees, from any and all
claims, requests, assertions, demands, suits, actions, proceedings, loss, cost, and
damages of every kind and description, including any attorney fees and/or
litigation expenses, which may be brought or made against or incurred by PNA on
account of: (i) The County’s performance of this Agreement (or failure to
perforrn); (ii) The County’s or its affiliates’ (not including PNA) violation of any
laws, negligent act, omission or gross misconduct; (iii) the County’s or its
affiliates‘ (not including PNA) breach of this Agreement; or (iv) a loss of or
damage to any property or for injuries to or death of any person, caused by,
arising out of, or contributed to, in whole or in part, by reason of any Proven
alleged act of negligence or gross misconduct by the County, its employees,
agents, representatives or subcontractors (excluding PNA), or employees, agents,
or representatives of the subcontractors (excluding PNA) in connection with or
incident to the performance of this Agreement. The County’s obligations to
defend and indemnify PNA under this Section shall not extend to any portion of
any claim, request, assertion, suit, proceeding, cause of action, or demand Proven
or alleged to have arisen from, or Proven or alleged to have been caused, in whole
or in part, by the negligence or gross misconduct (including the failure to act) of
PNA or its agents, representatives or employees. Any provisions or limits of
insurance set forth in this Agreement hereunder, shall not limit the County’s
liability pursuant to this Article VIII.

 

F. Neither of the Parties hereto shall waive, release, or otherwise forfeit any possible
defense that either of them may have without the consent of the other Party
relative to any of the claims for which either Party may be obligated to provide a
defense or indemnification hereunder. Both Parties shall preserve all such
available defenses and cooperate with the other Party to make such defenses
available for each other’s benth to the maximum extent allowed by law.

G. Either Party that seeks indemnification or defense under this Agreement shall,
within ten (10) business days after being notified of the claim, notify the other
Party of any claim for which it will demand indemnification or a defense under
this Agreement. The indemnifying party shall have the right to assume the
defense of a claim, demand, suit, proceeding or other action pursuant to the
provisions hereof, unless (i) such claim may result in a criminal proceeding
against the party seeking indemnification, (ii) such claim may result in liabilities
which would not be fully indemnified hereunder, or (iii) in response to a petition
by the party seeking indemnification, an appropriate court rules that the
indemnifying party failed or is failing to vigorously prosecute or defend such
claim.

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IX.

XI.

H. Any party obligated to provide a defense hereunder shall do so with qualified

counsel that is approved by the other party; but such approval shall not be
unreasonably withheld. The party providing a defense or obligated to indemnify
from a claim or cause of action hereunder shall not settle or compromise any such
claim or litigation cause of action without the consent of the other party, but such
consent shall not be unreasonably withheld. Liltewise, the party for whom a
defense or indemnification for a claim or cause of action is to be provided
hereunder, shall not settle or compromise any such claim or cause of action
without the consent of the other party, but such consent shall not be unreasonably
withheld.

l. lf a party assumes the defense of any claims and causes of action hereunder, the
parties shall cooperate in such defense and shall make available all relevant
records and take such other action and sign such documents as are reasonably
necessary to defend such claims and causes of action in a timely manner. lf the
party being indemnified shall be required by judgment or a settlement agreement
to pay any amount in respect of any obligation or liability against which the
indemnifying party is required to indemnify under this Agreement, the indemnitor
shall promptly reimburse the indemnitee in an amount equal to the amount of
such payment plus all expenses (including legal fees and expenses).

I PE A

ln PNA’s performance of its duties and responsibilities under this Agreement, it is
mutually understood and agreed that the PNA is at all times acting and performing as an
independent contractor. The County shall neither have nor exercise any control or
direction over the methods by which the PNA shall perform its work and functions other
than as provided herein. Nothing in this Agreement is intended to or shall be deemed to
constitute a partnership or a joint venture between the parties.

LE_EIM§

Meetings will be held regularly between PNA and the County. Participating will be the a
County Representative, the Warden, a member of PNA Corporate staff (or other
representative selected by PNA) and other representatives as reasonably requested by the
Parties, The location of the meetings shall be determined by the Parties, but may be held
electronically or in person,

MQNTHL¥ PAYMENT§

A. The first year fee (“Monthly Operating Price”) to be paid to PNA for Health
Services shall be $5.85 per Inmate per day up to 90% inmate capacity, with a
Fixed Incremental Unit Price (FlUP) of $5.25 per inmate per day for any and all
inmates exceeding the 90% occupancy rate.

B. DELETFD PRUVISION-MUTUALLYAGREED

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C. The second year fee of the base period will be $5.94, with a FIUP of $5.33; the
third year fee $6.03 with a FIUP of $5.41, and the fourth year fee $6.12 with a
FIUP of $5.49.

D. The first year of Option Period One will be $6.30 with a FIUP of $5.65; the
second year $6.49 with a FIUP of $5.82.

E. The first year of Option Period 'l\vo will be $6.68 with a FIUP of $6.00; the
second year $6.88 with a FIUP of $6.18.

F. The first year of Option Period 'I'hree will be $‘7.09 with a FIUP of $6.36; the
second year $7.30 with a FIUP of $6.56.

G. The Monthly Operating Price (or FIUP) shall also be paid to PNA for each day a
County Inmate is housed in the Facility, if such occurs.

H. The Monthly Operating Price (or FlUP) to be paid to PNA for Health Services
shall be for the number of Inmates in the Facility per day as indicated on the
Midnight Count Report, up to 90% capacity. The Fixed Incremental Unit Price is
to be paid per day per inmate for all inmates exceeding the 90% capacity figure.

a.) Either fee, as applicable, shall also be paid to PNA for each day that a
County Inmate is housed in the Facility. PNA may submit to the County a
proposed price adjustment to the Operating Price or FIUP for
consideration during the annual rate negotiations between the County and
the BOP. lf PNA and the County are unable to reach an agreement
regarding PNA’s proposed price adjustment, then PNA either party hereto
shall have the option to terminate this Agreement upon thirty days written
notice to the other party.

l. PNA will invoice the County on a monthly basis, in a form approved by the
County, incorporating all payment requests in one uniform billing for services
rendered for the preceding month ended. On or before the 3"’ day of each month,
the County shall provide PNA with such reports and occupancy information for
the preceding month as may be reasonably required by PNA to create its invoice
to the County for providing Health Services to any and all Inmates housed in the
Facility.

J. The County will pay PNA within thirty days after the receipt of an invoice.
Failure of PNA to submit appropriate information on the invoice will result in the
withholding of any disputed portion of the invoice until such time as the County
receives the information lf any amounts to be paid pursuant to the invoice are
disputed by the County, then the County, on or before the date the invoice is to be
paid, shall advise PNA of the basis for the dispute and pay the amount of the

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invoice, which is not in dispute. The parties will resolve the disputes pursuant to
the procedure set out in Section XV.C: Disputes.

PNA may submit to the County a proposed price adjustment to the Per Diem Rate
for consideration during the annual per diem rate negotiations between the County
and BOP. if PNA and the County are unable to reach an agreement regarding
PNA’s proposed price adjustment, then either party hereto shall have the option to
terminate this Agreement upon thirty days (30) written notice to the other party.

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PNA shall not assign this Agreement without the written consent of the County.

M 0

Except as otherwise provided herein, modifications to this Agreement would be valid
only by a written signed mutual agreement of the Parties.

XY¢.JERMIHAI!QE

A.

In addition to any other right of termination set forth herein, either party shall
have the right to canccl, terminate or suspend this Agreement, in whole or in part,
with or without cause, by providing the other party one hundred eighty (180)
days written notice of termination

If a party breaches this Agreement the non-breaching party shall give the
breaching party thirty days written notice of the breach. If the breaching party
does not cure the breach within the thirty~day period, the non-breaching party
may terminate this Agreement immediately without further notice.

In the event the County ceases to own or operate the Facility, the County may
terminate this Agreement upon no less than twenty-four (24) hours notice in
writing to PNA. Said notice shall be delivered by certified mail, return receipt
requested, or in person with proof of delivery. The County shall be the final
authority as to its determination as to the cessation of its ownership or operation
of the Facility,

Upon termination of a Contract for any reason, including cxpiration, PNA shall:

0 Cooperate with the County in a joint inventory of supplies and equipment;
Satisfy all PNA’s debts and obligations incurred at the Facility; and

¢ Allow access to representatives of a successor contractor to interview current
staff for positions with such successor.

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G.

Notwithstanding the forgoing, the following provisions will survive any
termination or expiration of a Contract: V.B.6; V.E.l & 2; V.H.é(c); V.H.9;
V.Q.Z; IX; XVI.H.Z., and XVI.K.

Neither the anticipated termination nor expiration of a Contract would relieve
PNA from the obligation to provide or arrange for Health Services until the date
of termination

ln the event that BOP terminates the IGA, then PNA or the County may terminate
this Agreement upon thirty days written notice to the other party.

XVl»Ml$_(E_l_».LAN.§Q!lS

A.

lyle B.l

The provisions of this Agreement will be for the sole benefit of the parties hereto
and will not be construed as conferring any rights on any other person,

hiring

All notices, designations, consent, offers, acceptance or any other communication
provided for herein required to be in writing shall be given by certified mail,
return receipt requested, addressed to the parties as shown below:

PNA: Vernon “Trey” Farthing
President
Physicians Network Association
1622 Mac Davis l.ane, Suite A
Lubbock, Texas 79401

County: The Honorable Sam Contreras
County Judge
Reeves County
100 East Fourth Street
Pecos, 'I'X 79772

Disp_ute§

1. Any dispute between FNA and the County relating, directly or indirectly,
to this Agreement or the relationships or duties contemplated by this Agreement
(including the viability or enforceability of this Section XV.C. Disputes) shall be
resolved pursuant to the terms of this Section XV.C. Disputes, and this shall be
the sole and exclusive remedy of the parties hereto.

2. Either party hereto shall provide the other with written notice of the
dispute to be resolved (“Dispute Notice”) and shall deliver such notice to the

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other party pursuant to Section XV.B. Notice. The date the Dispute Notice is
placed in the mail, or hand delivered to the receiving party, shall be the Dispute
Notice Date. The receiving party shall promptly forward the Dispute Notice to
the County lodge (or designee.) Within thirty days after the Dispute Notice Date,
the Judge or designee shall make a decision concerning such dispute. In the event
that the decision is not acceptable to PNA or the County shall be mediated
pursuant to Section XV.C.J, below.

3. If the dispute is not resolved by the procedures set forth above, then,
within forty-five (45) days of the Dispute Notice Date, either party may submit
the dispute to mediation pursuant to Section 154 of the Texas Civil Practice and
Remedies Code. ln the event that either party is not satisfied with the result of the
mediation, then and only then, either party may file a lawsuit in Reeves County,
Texas

4. DELETED PROVISION-MUTUALLYAGREED
5. DELETED PRO VISION-MUTUALLY AGREED

D. _\_\_'_qj;er;_ Either party’s waiver of unsatisfactory services or the breach of any
provisions of this Agreement shall not be deemed to be a waiver of any other
breach and shall not be construed to be a modification of the terms of this
Agreement. No waiver shall be valid or binding unless the same shall be in
writing and signed by the party alleged to have granted the waiver. The
provisions herein do not limit a party’s right to remedies at law or to damages

E. Stat§ gw: This Agreement shall be construed under and in accordance with the
laws of the State of Texas, and all obligations created hereunder are performable
in Reeves County, Texas. Any court proceeding permitted by this Agreement
shall be filed only in Reeves County, Texas,

F. Fg_i;ce nggr_'g: In case performance of any terms or provisions herein shall be
delayed or prevented because of compliance with any law, decree, or order of any
governmental agency or authority, either local, state, or federal, or because of
war, riot, public disturbances, strikes, lockouts, differences with worltrnen, lires,
floods, Acts of God, or any other reason whatsoever which is not within the
control of the party whose performance is interfered with and which, by the
exercise of reasonable diligence said party is unable to prevent, the party so
suffering may at its option suspend, without liability, the performance of its
obligations hereunder during the period such cause continues, and extend the term
of this Agreement for the period of such suspension of the performance of duties
hereunder.

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G. membjlity; If any provision hereof is deemed to be invalid or unenforceable
under applicable law, this Agreement shall be considered divisible as to such
provision and the same shall thereafter be inoperative, provided however, the
remaining provisions of this Agreement shall be valid and binding.

H.Qanliance_aith_lBQA

1. PNA agrees at all times to remain in strict compliance with all terms,
provisions, regulations, and rulings relative to the lmmigration Reform and
Control Act of 1986 (IRCA). All employees of PNA assigned to the Facility will
have had their identity and eligibility for work within the United States properly
verified Within three (3) days of receipt of a written request from the County,
FNA shall provide copies of the I-9 form or such other documentation as may be
appropriate to satisfy the County as to PNA’s compliance with IRCA.

2. PNA agrees to defend and indemnify the County and its agents, their
affiliates and subsidiaries, and their directors, partners, officers, agents,
representatives, and employees from and against any claims, actions, suits or
proceedings of any type whatsoever arising out of or in any way connected with
PNA’s breach of the terms of the paragraph immediately above.

I. … PNA shall plan for, and ensure, that all
personnel comply with the basic provisions of OSHA Safety and Health

Standards as such federal regulations are applicable to the Health Services (if
any). The responsibility for the implementation and enforcement of health and
safety requirements relating to Health Services lies with PNA, and its safety
support staff.

J. §§Qggthg_Agthg;ity_: By his signature below, each signatory individual certifies
that he or she is the properly authorized agent or officer of the applicable party
hereto and has the requisite authority necessary to execute this Agreement on
behalf of such party, and each party hereby certifies to the other that any
resolutions necessary to create such authority have been duly passed and are now
in full force and effect.

K. MMM. PNA hereby represents and warrants to and for

the benefit of the County that all of the representations and warranties given by
PNA to the County as set forth in this Agreement are true in relation to FNA as of
the date of this Agreement and will continue to be true throughout the term of this
Agreement.

L. ML This Agreement is the entire agreement between the Parties
hereto, and wholly supercedes any and all prior or contemporaneous drafts,
discussions, negotiations, communications, proposals or agreements, of every
nature, relating to any of the issues or subjects addressed in this Agreement.

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M. Atmgy_§f_f_m lf it shall become necessary for either party to engage attorneys
to institute legal action for the purposes of enforcing its rights hereunder, the party
prevailing in such litigation shall be entitled to receive all of its fees and expenses
from the losing party.

N. M Each party agrees to keep any proprietary information disclosed
by the other party confidential Inforrnation is proprietary if it is identified as
such in writing.

O. Qg_ugtg[gms, This Agreement may be executed in multiple counterparts each of
which shall constitute but one Agreement.

(The balance of this page has been intentionally lej? blank)

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lN WITNESS WHEREOF, the parties have executed this Agreement in their official capacities
with legal authority to do so.

FOR REEVES COUN`TY

The Honorable Sam Contreras
County lodge

Date 3‘/?/'07

 

PHYS!CIANS NETWORK ASSOCIATION

By ¢//z./@

Vernon “Trey” Parthing
President and Chief Executive Ofticer

Date Z//)"o 4 `

 

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Physicians Network Association, a professional corporation, was founded in 1990 in Lubbock,
TX, and is wholly owned by Dr. Vemon Farthing, M.D., a Board-certified lntemal Medicine
specialist PNA currently provides health care to over 15,000 inmates in 24 facilities in three
states, including over 5,000 in Federal Bureau of Prisons (BOP) or U. S. Marshals Service
(USMS) custody. PNA also provides full-spectrum health services to clinics, hospitals and long-
term care facilities.

PNA’s Corrections Division contracts with local and state government entities as well as private
correctional management firms. We care for male and female adults and juveniles, and have
extensive experience with special needs populations, including mentally, chronically or
terminally ill individuals, in a variety of environments.

We believe that PNA has the experience to provide Reeves County and the Bureau of Prisons
excellent, cost-effective and constitutionally appropriate care. PNA’s financial stability,
extensive purchasing networks, experienced executive staff and commitment to customer service
makes us distinctive in the field of correctional healthcare. Our size makes it easy for us to
continue to be your active partner. Our goal is to tailor our services to your needs and goals.

PNA is able to deliver quality service at a reasonable cost because of several rcasons: one, we are
a privately held company. Two, we have eliminated tiers of bulky, expensive middle
management. Three, our goal-aligned Physician-President has provided years of direct inmate
care and works closely with facility wardens. We have a deep understanding of inmates’
healthcare needs. Our executive staff is empowered to make immediate operational decisions.
PNA’s continual scrutiny of expenses and aggressive negotiations with suppliers, providers and
hospitals help maintain our low costs. Higher employee wages reduce recruitment expense. Our
concentration on the Southwestem United States market means a rapid response from our central
West Texas location. Our expansive network of nurses, physicians and midlevel providers
throughout Arizona, New Mexico and Texas ensures minimal staff shortages and prompt
response in cmergencies.

Our clients will confirm that they receive personal attention from executive decision makers.
Our Wardens and Administrators appreciate PNA’s philosophy of providing quality, cost-
effective care and personal service. We are recognized for our responsiveness to the needs of
our customers. PNA works as your partner to ensure appropriate healthcare without
compromising operations. As a subcontractor, PNA has fourteen years’ experience assisting
operators exceed expectations. We welcome regular audits and can meet the requirements of any
custody agency.

PNA is tiscally sound with a reputation for prompt payment to vendors, suppliers and pcrsonnel.
Members of our professional staff of over 450 are long-time employees who enjoy premium
working conditions, competitive pay and excellent benefits, which results in minimal turnover.

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Because of our numerous facilities in Texas, PNA has a large labor pool available when
additional staff is needed.

PNA currently contracts with Management and Training Corporation (MTC), the GEO Group,
the Comcrstone Group, and state, city and county entities. ln the past, PNA has contracted with
Correctional Services Corporation (CSC), Youth Services lntemational (YSI,) Corrections
Corporation of America (CCA,) the Bobby Ross Group, and Emerald Corrections.

PNA has never had a contract canceled or been removed from a facility. We have operated the
Lubbock County Jail and Lubbock County Juvenile Justice Center since 1994, the West Texas
lntermediate Sanction Facility since 1997 and the Dalby Unit since it opened in 1999. A keynote
in PNA’s operation is our commitment to working with the contracting agency. Our goal is to
assist the contractor in providing quality, cost-effective services to government agencies
requiring detention services. PNA is proud of its record of no substantiated grievances in any
facility.

PNA’s depth of experience is unusual: our contracts range from professional staffing of a jail
clinic to a full-risk, full-spectrum medical, mental and dental care contract for a 2000-bed
Federal BOP facility. We have twelve years of experience with out-of-state inmate management,
as well as extensive maximum-security juvenile, dual-diagnosis/mental retardation inmates, and
community corrections-based health care, PNA is willing to accept challenging or remote
facilities and emergency assumptions We were on-site at the Polk City and Cypress Creek (FL)
Youth Development Centers (CSC/YSI facilities) ten days after first contact with the operators.

PNA has achieved initial ACA or NCCHC accreditation at the majority of our facilities and was
one of the first private health providers to achieve JCAHO (Joint Commission on Accreditation
of Healthcare Organizations) accreditation at a Bureau of Prisons institution with a score of 97.
Additionally, we successfully achieved accreditation in 2003 at the South Texas ISF as a test site
under the ACA Adult Local Detention Facilities Standards, 4th Edition, and a perfect score under
ACA ALDF Standards, 3rd Edition at Santa Fe County Adult Detention Center.

PNA provides all levels of professional staffing, including physicians, mid-level providers,
Nurses and Nurse Aides, EMTs and Record Clerks. We also provide pharmacy, radiology and
laboratory services, full dental care and comprehensive mental health programs with skilled
licensed practitioners, including psychologists and psychiatrists PNA’s on site indirect care
includes Quality Assurance and Utilization Management as well as 24-hour on-call physician

services and comprehensive emergency pharmaceutical services. ‘

PNA has four Quality Assurance/Quality Improvement experts in the corporate office. As
mentioned above, regular auditing by outside agencies provides a lot of input. We also, because
almost all of our contracts have some modified off-site compensation (full-, partial or no risk,)
are aggressive in monitoring utilization. Two corporate employees and Dr. Farthing handle
Utilization Management and provide a two-day turn around for decisions on routine services and
immediate assistance with urgent requests, Peer review is required in all our facilities and we
have a team of Board Certiiied specialists who provide this service.

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352th
Qn§lteolanseugm£hannn

President

CorrectRX Pharmacy Services

803-A Barkwood Court

Linthicum, MD 21090

(410) 636-9741

Dr. Yankellow is our primary pharmacy subcontractor and knows our industry reputation.

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Vice President ~ Central Region

The GEO Group, Inc.

1583 Common Street, Suite 213

New Braunfels, TX 78130

(830) 625- 9000

PNA provides services to GEO at ten facilities (six' m Texas,) m addition to working with
them at Reeves County Detention Center Units R- 1/R-2 and R- 3.

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Lubbock County Sheriff‘s Office

801 Main Street

Lubbock, TX

(806) 775- 1498

Operates the Lubbock County Jail, Lubbock County Juvenile Justice Center and Lubbock
County Community Correctional Facility

tt ar Preside
Management & Training Corporation
P. O. Box 10
500 North Marketplace Drive
Centerville, U'l`84014
(801) 693- 2800
Management & Training Corporation is the operator of the West and East Texas
Intermediate Sanction Facilities, Dalby Correctional Facility, 0tero County Prison
Facility, Willacy County Detention Center and Arizona State Prison - Kingman

Medical Services Director

State of Wyoming

(307) 777-5818

PNA provided services for Wyoming female inmates in the McKinley County Jail,
Gallup, NM Wyoming males at the Bill Clayton Detention Center in Littlefield, TX.

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